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                      UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF TEXAS
                            AUSTIN DIVISION

United States of America.,             §
                                       §
      Plaintiff,                       §     NO: AU:23-CV-00853-DAE
vs.                                    §
                                       §
Greg Abbott, et al.                    §
                                       §
      Defendants.                      §

      ORDER RESETTING PRELIMINARY INJUNCTION HEARING
       It is hereby ORDERED that the above entitled and numbered case is reset

for a PRELIMINARY INJUNCTION HEARING before Senior U.S. District

Judge David A. Ezra in Courtroom 1, on the First Floor of the United States

Courthouse, 501 West Fifth Street, Austin, TX, on Tuesday, August 22, 2023 at

09:00 AM.

       IT IS SO ORDERED.

       DATED: Austin, Texas August 18, 2023.



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                                           DAVID A. EZRA
                                           SENIOR U.S. DISTRICT JUDGE
